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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
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    Joshua A. Sussberg, P.C. (pro hac vice pending)
    Steven N. Serajeddini, P.C. (pro hac vice pending)
                                                                                    Order Filed on November 8, 2023
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    New York, New York 10022                                                        District of New Jersey
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    Proposed Co-Counsel for Debtors and
    Debtors in Possession

    In re:                                                            Chapter 11
    WEWORK INC., et al.,                                              Case No. 23-19865 (JKS)
                      1
             Debtors.                                                 (Joint Administration Requested)



1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
       principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address
       in these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.
       Beaverton, OR 97005.
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                  INTERIM ORDER (I) AUTHORIZING THE
               DEBTORS TO (A) FILE A CONSOLIDATED LIST
             OF THE DEBTORS’ THIRTY LARGEST UNSECURED
              CREDITORS, (B) FILE A CONSOLIDATED LIST OF
             CREDITORS IN LIEU OF SUBMITTING A SEPARATE
             MAILING MATRIX FOR EACH DEBTOR, (C) REDACT
          OR WITHHOLD CERTAIN CONFIDENTIAL INFORMATION
         OF CUSTOMERS, AND (D) REDACT CERTAIN PERSONALLY
    IDENTIFIABLE INFORMATION; (II) WAIVING THE REQUIREMENT TO
    FILE A LIST OF EQUITY HOLDERS AND PROVIDE NOTICES DIRECTLY
   TO EQUITY SECURITY HOLDERS; AND (III) GRANTING RELATED RELIEF

      The relief set forth on the following pages, numbered three (3) through eight (8), is

ORDERED.




DATED: November 8, 2023
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Debtors:                  WeWork Inc., et al.
Case No.                  23-19865 (JKS)
Caption of Order:         Interim Order (I) Authorizing the Debtors to (A) File a Consolidated List of
                          the Debtors’ Thirty Largest Unsecured Creditors, (B) File a Consolidated
                          List of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each
                          Debtor, (C) Redact or Withhold Certain Confidential Information of
                          Customers, and (D) Redact Certain Personally Identifiable Information;
                          (II) Waiving the Requirement to File a List of Equity Holders and Provide
                          Notices Directly to Equity Security Holders; and (III) Granting
                          Related Relief

        Upon the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the

Debtors to (A) File a Consolidated List of the Debtors’ Thirty Largest Unsecured Creditors,

(B) File a Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each

Debtor, (C) Redact or Withhold Certain Confidential Information of Customers, and (D) Redact

Certain Personally Identifiable Information; (II) Waiving the Requirement to File a List of Equity

Holders and Provide Notices Directly to Equity Security Holders; and (III) Granting Related

Relief (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”), for entry of an interim order (this “Interim Order”) (a) authorizing

the Debtors to (i) file a consolidated list of the Debtors’ thirty largest unsecured creditors in lieu

of filing separate creditors lists for each Debtor, (ii) file a consolidated list of creditors in lieu of

submitting a separate mailing matrix for each Debtor, and (iii) redact or withhold certain

confidential information of customers, and (iv) redact certain personally identifiable information,

(b) waiving the requirement to file a list of equity holders and provide notices directly to equity

security holders, and (c) granting related relief, all as more fully set forth in the Motion; and upon

the First Day Declaration; and the Court having jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to

the Bankruptcy Court Under Title 11 of the United States District Court for the District of New


2   Capitalized terms used but not otherwise defined herein have the meaning ascribed to them in the Motion.
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                       Related Relief

Jersey, entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this

Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion

was appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and

upon all of the proceedings had before the Court and after due deliberation and sufficient cause

appearing therefor IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED on an interim basis as set forth herein.

       2.      The Final Hearing on the Motion will be held on _______,            11:00 a.m.
                                                                 12/6 2023, at _____________

(Eastern Time). Objections, if any, that relate to the Motion shall be filed and served so as to be
                                                                  November 29
actually received by the Debtors’ proposed counsel on or before _______________, 2023,

at 4:00 p.m. (Eastern Time). If no objections are filed to the Motion, the Court may enter an

order approving the relief requested in the Motion on a final basis without further notice or hearing.

       3.      The Debtors are authorized, but not directed, pursuant to section 105(a) of the

Bankruptcy Code, Bankruptcy Rule 1007(d), and Local Rule 1007-1 to submit a Consolidated

Creditor Matrix; provided that if any of these chapter 11 cases converts to a case under chapter 7
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                       Related Relief

of the Bankruptcy Code, each applicable Debtor shall file its own creditor mailing matrix within

fourteen days of any such conversion.

       4.      The Debtors are authorized, on an interim basis, to submit a single consolidated list

of their thirty largest unsecured creditors in lieu of a separate list for each Debtor.

       5.      The Debtors are authorized, on an interim basis, pursuant to section 107(b) of the

Bankruptcy Code, to redact the names, addresses, and email addresses of their customers from any

filings with the Court or made publicly available in these chapter 11 cases.

       6.      The Debtors are authorized, on an interim basis, pursuant to section 107(c) of the

Bankruptcy Code, to redact on the Consolidated Creditor Matrix, Schedules and Statements, or

other documents filed with the Court (a) the home and email addresses of all natural persons who

are United States citizens located in the United States and (b) the names, home and email addresses,

and other Personal Data of any natural person whose personally identifiable information has been

provided to an organization with an establishment in the United Kingdom or a European Economic

Area member state. The Debtors shall provide an unredacted version of the Consolidated Creditor

Matrix, Schedules and Statements, and any other filings redacted pursuant to this Interim Order to

(a) the Court; (b) the U.S. Trustee; (c) Weil, Gotshal, Manges LLP and Wollmuth Maher &

Deutsch LLP as counsel to SoftBank; (d) Davis Polk & Wardwell LLP, as counsel to the Ad Hoc

Group; (e) Cooley LLC, as counsel to Cupar Grimmond, LLC; (f) counsel to any official

committee appointed in these chapter 11 cases; (g) Epiq, the Debtors’ Proposed Claims and
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                       Related Relief

Noticing Agent; and (h) any party in interest upon a request to the Debtors (email is sufficient) or

to the Court that is reasonably related to these chapter 11 cases, subject to the restrictions of the

CCPA, UK GDPR, and EU GDPR; provided that any receiving party shall not transfer or otherwise

provide such unredacted document to any person or entity not party to the request The Debtors

shall inform the U.S. Trustee promptly after denying any request for an unredacted document

pursuant to this Interim Order.

        7.     Nothing herein precludes a party in interest’s right to file a motion requesting that

the Court unseal the information redacted by this Interim Order.

        8.     The Debtors shall file a redacted version of the Consolidated Creditor Matrix with

the Court as well as post it on the website of Epiq, the Proposed Claims and Noticing Agent.

        9.     The Debtors shall cause the Consolidated Creditor Matrix to be made available in

readable electronic format (or in non-electronic format) upon reasonable request by parties

in interest.

        10.    The requirement under Bankruptcy Rule 1007(a)(3) to file an Equity List for Debtor

WeWork Inc. is waived.

        11.    Any requirement that Debtor WeWork Inc. provide notice directly to equity

security holders under Bankruptcy Rule 2002(d) is waived, and the Debtors are authorized to serve

the notices required under Bankruptcy Rule 2002(d) on the registered holders of the Debtors’

equity securities.
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       12.     The Debtors, through Epiq, are authorized, on an interim basis, to serve all

pleadings and papers, including the notice of commencement of these chapter 11 cases, on all

parties listed on the Consolidated Creditor Matrix (including via email if available).

       13.     Nothing in this Interim Order shall waive or otherwise limit the service of any

document upon or the provision of any notice to any party whose personally identifiable

information is sealed or redacted pursuant to this Interim Order. Service of all documents and

notices upon persons whose personally identifiable information is sealed or redacted pursuant to

this Interim Order shall be confirmed in the corresponding certificate of service.

       14.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Interim Order in accordance with the Motion.

       15.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion, and the requirements of the Bankruptcy Rules and the Local Rules are satisfied

by such notice.

       16.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

       17.     The Debtors shall serve by regular mail or email a copy of this Interim Order and

the Motion on all parties required to receive such service pursuant to Local Rule 9013-5(f) within

two business days after the entry of this Order.
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       18.     Any party may move for modification of this Order in accordance with

Local Rule 9013-5(e).

       19.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.
